 1   Garrett S. Eggen, OSB No. 222197
     Susan S. Ford, OSB No. 842203
 2   SUSSMAN SHANK LLP
     1000 SW Broadway, Suite 1400
 3   Portland, OR 97205-3089
     Telephone: (503) 227-1111
 4   Facsimile: (503) 248-0130
     E-Mail: geggen@sussmanshank.com
 5            sford@sussmanshank.com

 6       Attorneys for Creditor Stephen B. Fritz, M.D.

 7

 8                          IN THE UNITED STATES BANKRUPTCY COURT

 9                                             DISTRICT OF OREGON

10   In re:                                                           )      Case No. 22-30228-thp11
                                                                      )
11   AAIM Care, LLC,                                                  )      DECLARATION OF GARRETT S.
                                                                      )      EGGEN REGARDING COURT’S
12                                                                    )      CONTEMPT RULING AND STATUS OF
              Debtor-in-Possession.                                   )      DR. SANJEEV JAIN AND RAJEEV
13                                                                    )      JAIN’S PRODUCTION UNDER
                                                                      )      EXHIBIT B TO THE RULE 2004 ORDER
14                                                                    )      AS OF OCTOBER 20, 2022
                                                                      )
15                                                                    )
                                                                      )
16                                                                    )
                                                                      )
17                                                                    )

18            I, Garrett S. Eggen, declare as follows:

19            1.     I am an attorney with the firm of Sussman Shank LLP, and one of the attorneys for

20   Stephen Fritz, M.D. who is an interested party in this action. My business address and telephone

21   number are set forth above. I make this declaration from my own personal knowledge, except to

22   the extent otherwise stated.

23            2.     On October 4, 2022, this Court held a hearing (the “Hearing”) on the Order [Docket

24   No. 189] directing Dr. Sanjeev Jain and Mr. Rajeev Jain (the “Jains”) to appear and show cause

25   why an order should not be issued holding them in contempt of court for failing to comply with

26   the Rule 2004 Order [Docket No. 125].
     Page 1 of 3 - DECLARATION OF GARRETT S. EGGEN REGARDING COURT’S
     CONTEMPT RULING AND STATUS OF DR. SANJEEV JAIN AND RAJEEV JAIN’S
     PRODUCTION UNDER EXHIBIT B TO THE RULE 2004 ORDER AS OF OCTOBER 20,
     2022

                                                SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                      1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                            TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                            Case 22-30228-thp11                  Doc 223           Filed 10/20/22
 1          3.      At the conclusion of the Hearing, the Court found that there was cause to hold the

 2   Jains in contempt for their failure to comply with the Rule 2004 Order and awarded attorneys fees

 3   and costs to Dr. Fritz and against the Jains for the reasonable amounts Dr. Fritz had incurred to

 4   enforce compliance with the Rule 2004 Order by the Jains. Also at the Hearing, the Court directed

 5   the Jains to comply with the Rule 2004 Order by producing the remaining documents requested

 6   thereunder no later than October 19, 2022 (the “Deadline”). The Court also noted that should the

 7   Jains not comply with the Rule 2004 Order by the Deadline that it would consider the necessity

 8   for further sanctions to ensure their compliance.

 9          4.      On October 17, 2022, Mr. Rajeev Jain sent an email to Ms. Amy Mitchell, myself,

10   and others including certain documents responsive to the Rule 2004 Order. In this email,

11   Mr. Rajeev Jain indicated that the Jains had fulfilled their obligations to produce the documents

12   that Ms. Amy Mitchell identified as outstanding under the Rule 2004 Order in her Report [Docket

13   No. 214].

14          5.      On October 18, 2022, I sent an email to Dr. Sanjeev Jain and Mr. Rajeev Jain

15   recognizing that while certain responsive documents had been produced since the Hearing, there

16   were many documents outstanding under Exhibit B to the Rule 2004 Order that the Jains had failed

17   to produce. These missing items included, among other things, bank statements and tax returns

18   for any of the Debtor-Related Entities and certain governance documents and employment

19   agreements related to certain of the Debtor-Related Entities. This email is attached hereto as

20   Exhibit A.

21          6.      From roughly 10:30 p.m. on October 18, 2022 through October 19, 2022 (i.e., the

22   Deadline by which the Jains were required to comply with the Rule 2004 Order), both Dr. Sanjeev

23   Jain and Rajeev Jain sent several emails containing documents believed to be responsive to

24   Exhibit B to the Rule 2004 Order, including certain employment agreements, governance

25   documents, and bank statements.

26          7.      On the morning of October 20, 2022 and after a brief review of the documents
     Page 2 of 3 - DECLARATION OF GARRETT S. EGGEN REGARDING COURT’S
     CONTEMPT RULING AND STATUS OF DR. SANJEEV JAIN AND RAJEEV JAIN’S
     PRODUCTION UNDER EXHIBIT B TO THE RULE 2004 ORDER AS OF OCTOBER 20,
     2022

                                            SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                  1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                        TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                          Case 22-30228-thp11                Doc 223           Filed 10/20/22
 1   produced by the Jains after receiving my October 18, 2022 email, I concluded that the Jains had

 2   only produced certain bank statements of the Debtor-Related Entities from the years 2018 and

 3   2019 and that several tax returns of the Debtor-Related Entities had not been produced.

 4          8.      The results of my initial review on October 20, 2022 were confirmed by the fact

 5   that Dr. Sanjeev Jain continued to produce what have been represented to be bank statements

 6   throughout October 20, 2022, after the Court’s Deadline of October 19, 2022. However, as of the

 7   time of filing this Declaration, no documents purported to be the missing tax returns of certain of

 8   the Debtor-Related Entities (including Idaho Allergy, LLC, Pacifica Medical Group, LLC, or

 9   Northwest Allergy & Asthma Specialists, LLC) have been produced.

10          9.      The review of the documents produced by the Jains under the Rule 2004 Order is

11   ongoing, and Dr. Fritz reserves all rights to continue this review and further report to the Court on

12   whether any documents the Jains are required to produce under the Rule 2004 Order are still

13   outstanding.

14          I declare under penalty of perjury that the foregoing is true and correct.

15          Executed this 20th day of October, 2022 in Portland, Oregon.

16                                                 /s/ Garrett S. Eggen
                                               By _____________________________
17                                               Garrett S. Eggen
18
19

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26
     Page 3 of 3 - DECLARATION OF GARRETT S. EGGEN REGARDING COURT’S
     CONTEMPT RULING AND STATUS OF DR. SANJEEV JAIN AND RAJEEV JAIN’S
     PRODUCTION UNDER EXHIBIT B TO THE RULE 2004 ORDER AS OF OCTOBER 20,
     2022

                                             SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                   1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                         TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 22-30228-thp11                Doc 223           Filed 10/20/22
From:
From:                   Garrett
                        Garrett S.
                                S. Eggen
                                   Eggen
Sent:
Sent:                   Tuesday,
                        Tuesday, October
                                   October 18,
                                             18, 2022
                                                 2022 2:03
                                                        2:03 PM
                                                             PM
To:
To:                     Sanjeev  Jain; 'Rajeev
                        Sanjeev Jain;  'Rajeev Jain'
                                                Jain'
Cc:
Cc:                     Susan
                        Susan S.
                               S. Ford
                                  Ford
Subject:
Subject:                Rule
                        Rule 2004
                             2004 Order
                                    Order -- Exhibit
                                             Exhibit BB Compliance
                                                        Compliance Issues
                                                                   Issues




Dr.
Dr. Sanjeev
    Sanjeev Jain
            Jain and
                 and Mr.
                     Mr. Rajeev Jain,
                         Rajeev Jain,


This email
This email serves
           serves as
                  as Dr.
                     Dr. Fritz’s
                         Fritz's response
                                 response to
                                          to your
                                             your assertion
                                                  assertion that
                                                            that your
                                                                 your obligations
                                                                      obligations under
                                                                                  under Exhibit
                                                                                        Exhibit B to the
                                                                                                B to the Rule
                                                                                                         Rule 2004
                                                                                                              2004 Order
                                                                                                                   Order
have
have been
      been fulfilled.
            fulfilled. While
                        While recognizing       that certain
                                 recognizing that    certain documents
                                                               documents havehave been
                                                                                  been produced,    there are
                                                                                        produced, there    are still
                                                                                                               still obvious
                                                                                                                     obvious deficiencies
                                                                                                                              deficiencies
in
in your
   your production
        production thatthat are
                             are worth
                                  worth noting.
                                          noting. II am
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                                                          hopeful that   these deficiencies
                                                                                deficiencies can
                                                                                             can be
                                                                                                  be resolved
                                                                                                     resolved by    tomorrow, the
                                                                                                               by tomorrow,     the
deadline
deadline by
          by which
             which thethe Court
                           Court required
                                    required you
                                               you to
                                                   to produce
                                                       produce allall remaining
                                                                      remaining documents
                                                                                 documents under
                                                                                              under Exhibit
                                                                                                     Exhibit B to the
                                                                                                             B to  the Rule
                                                                                                                        Rule 2004
                                                                                                                             2004
Order.
Order. Otherwise,
        Otherwise, Dr. Dr. Fritz
                            Fritz intends
                                  intends toto pursue
                                               pursue all
                                                        all rights
                                                            rights and
                                                                   and remedies
                                                                        remedies available   to him
                                                                                   available to him under
                                                                                                     under the
                                                                                                            the Court’s
                                                                                                                Court's contempt
                                                                                                                           contempt ruling,
                                                                                                                                     ruling,
including the filing
including the  filing of
                       of a
                          a statement
                            statement identifying      the deficiencies
                                          identifying the    deficiencies in
                                                                           in production
                                                                              production under
                                                                                          under Exhibit
                                                                                                 Exhibit B
                                                                                                         B to the Rule
                                                                                                           to the    Rule 2004
                                                                                                                          2004 Order.
                                                                                                                               Order.


The major
The major missing
          missing items
                  items under
                        under Exhibit
                              Exhibit B to the
                                      B to the Rule
                                               Rule 2004
                                                    2004 Order
                                                         Order include:
                                                               include:


    -    Other
         Other than
                than for
                      for Idaho
                            Idaho Allergy,
                                   Allergy, LLC
                                             LLC (“Idaho
                                                 (“Idaho Allergy”),
                                                          Allergy”), thethe CMD
                                                                             CMD Management
                                                                                    Management Agreements
                                                                                                   Agreements you   you provided
                                                                                                                          provided could
                                                                                                                                     could not
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         be
         be accessed
            accessed on on our
                             our system.
                                 system. Please
                                           Please provide   the remaining
                                                   provide the    remaining management
                                                                                management agreements
                                                                                                agreements in   in pdf
                                                                                                                   pdf form.
                                                                                                                        form.
    -    General
         General Ledgers
                   Ledgers forfor Pacifica
                                  Pacifica Medical
                                            Medical Group,
                                                     Group, LLCLLC (“Pacifica”)
                                                                    (“Pacifica”) and
                                                                                  and CMD
                                                                                        CMD Group,
                                                                                              Group, LLC
                                                                                                       LLC (“CMD”)
                                                                                                           (“CMD”) have have not
                                                                                                                               not been
                                                                                                                                   been
         provided
         provided for
                    for any
                        any years.
                              years.
    -    We
         We have
              have not
                    not received
                         received anyany bank
                                          bank statements
                                                statements forfor any
                                                                  any of of the
                                                                            the Debtor-Related
                                                                                Debtor-Related Entities.
                                                                                                   Entities.
    -    We
         We have
              have not
                    not received
                         received Governance
                                     Governance Documents
                                                    Documents (i.e.
                                                                  (i.e. operating
                                                                        operating agreements,
                                                                                     agreements, certificates
                                                                                                   certificates of    formation, etc.)
                                                                                                                   of formation,           for
                                                                                                                                    etc.) for
         Idaho
         Idaho Allergy
                Allergy or
                         or Northwest
                              Northwest Allergy
                                           Allergy &
                                                   & Asthma
                                                      Asthma Specialists,
                                                                Specialists, LLC
                                                                               LLC (“Northwest
                                                                                    (“Northwest Allergy”).
                                                                                                  Allergy”).
    -    We
         We have
              have not
                    not received    tax returns
                         received tax    returns or
                                                  or profit
                                                     profit and
                                                            and loss
                                                                  loss statements     for any
                                                                         statements for    any Debtor-Related
                                                                                               Debtor-Related Entities.
                                                                                                                    Entities.
    -    We
         We have
              have not
                    not received
                         received employment
                                     employment agreements
                                                    agreements between
                                                                    between Dr. Dr. Jain
                                                                                    Jain and
                                                                                         and Pacifica
                                                                                              Pacifica or
                                                                                                        or Northwest.
                                                                                                           Northwest.
    -    We
         We have
              have not
                    not received
                         received anyany documents
                                          documents or or correspondence
                                                          correspondence related         to Pacifica’s
                                                                                related to  Pacifica's purchase
                                                                                                        purchase of of AAIM
                                                                                                                        AAIM Care,
                                                                                                                                Care,
         LLC.
         LLC. While
               While II understand
                        understand thatthat you
                                             you have
                                                  have provided
                                                        provided documents
                                                                     documents for for Dr. Jain’s purchase
                                                                                       Dr. Jain's purchase of of AAIM
                                                                                                                  AAIM Care
                                                                                                                          Care from
                                                                                                                                from Dr.
                                                                                                                                       Dr.
         Hasset,
         Hasset, we
                  we still
                      still need   to receive
                             need to  receive documents
                                               documents reflecting
                                                             reflecting thethe second
                                                                               second transaction
                                                                                        transaction asas this
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                                                                                                               is required
                                                                                                                  required under      the Rule
                                                                                                                              under the     Rule
         2004
         2004 Order.
               Order.


Our
Our review
     review of
            of the
               the documents
                    documents produced    thus far
                                produced thus  far remains
                                                   remains ongoing.
                                                             ongoing. As
                                                                      As such,
                                                                         such, Dr.
                                                                               Dr. Fritz
                                                                                   Fritz reserves
                                                                                          reserves all
                                                                                                   all rights to conduct
                                                                                                       rights to conduct aa
further
further review
        review of
                of the
                   the documents
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                                   produced and
                                             and to
                                                  to request
                                                      request additional
                                                              additional production
                                                                         production or
                                                                                     or take  further action
                                                                                         take further          to ensure
                                                                                                        action to        that
                                                                                                                  ensure that
compliance
compliance with
             with Exhibit
                  Exhibit B to the
                          B to the Rule
                                   Rule 2004
                                        2004 Order
                                             Order isis achieved.
                                                        achieved.


Thank
Thank you
      you in
          in advance for your
             advance for your cooperation.
                              cooperation. Should
                                           Should you
                                                  you have
                                                      have any
                                                           any questions,
                                                               questions, please
                                                                          please do
                                                                                 do not
                                                                                    not hesitate to contact
                                                                                        hesitate to contact me.
                                                                                                            me.


Best,
Best,


Garrett
Garrett S.
        S. Eggen
           Eggen
Attorney
Attorney
1000
1000 SW
      SW Broadway,
          Broadway, Suite
                    Suite 1400
                          1400 || Portland,
                                  Portland, OR
                                            OR 97205
                                               97205
O:
O: 503.227.1111
   503.227.1111 || D:
                   D: 503.972.4257
                      503.972.4257
Email
Email || Web
         Web


Sussman Shank-
           ATTOkMEft




                                                                        11
         Exhibit A
         Exhibit  B
         Page 11 of
         Page    of 2
                    2                Case 22-30228-thp11                Doc 223         Filed 10/20/22
Important
Important Notice   to Recipients:
            Notice to Recipients: This
                                  This email
                                       email may
                                              may contain
                                                   contain material  that is
                                                            material that is confidential,
                                                                             confidential, privileged
                                                                                           privileged and/or
                                                                                                      and/or attorney
                                                                                                             attorney work
                                                                                                                      work product
                                                                                                                           product for
                                                                                                                                   for the
                                                                                                                                       the sole
                                                                                                                                           sole use
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                                                                                                                                                    of the
                                                                                                                                                       the intended
                                                                                                                                                           intended
recipient.
recipient. Any
           Any unauthorized
               unauthorized review,
                             review, use,
                                      use, or
                                           or distribution
                                              distribution is
                                                           is prohibited
                                                              prohibited and
                                                                         and may
                                                                              may be
                                                                                   be unlawful.
                                                                                      unlawful.




                                                                                     22
           Exhibit A
           Exhibit B
           Page 22 of
           Page    of 2
                      2                     Case 22-30228-thp11                      Doc 223           Filed 10/20/22
 1                                     CERTIFICATE OF SERVICE

 2          I, Janine E. Hume, declare as follows:

 3          I am employed in the County of Multnomah, state of Oregon; I am over the age of eighteen

 4   years and am not a party to this action; my business address is 1000 S.W. Broadway, Suite 1400,

 5   Portland, Oregon 97205-3089, in said county and state.

 6          I certify that on October 20, 2022, I served, via first class mail, the DECLARATION OF

 7   GARRETT S. EGGEN REGARDING COURT’S CONTEMPT RULING AND STATUS OF

 8   DR. SANJEEV JAIN AND RAJEEV JAIN’S PRODUCTION UNDER EXHIBIT B TO THE

 9   RULE 2004 ORDER AS OF OCTOBER 20, 2022, on the following:

10         Dr Sanjeev Jain
           43575 Mission Blvd., Suite 716
11         Fremont, CA 94539
12         Rajeev Jain
           CMD-Group Management Contract
13         3240 S. White Rd., Suite 275
           San Jose, CA 95148
14
           Dr. Sanjeev Jain
15         Pacifica Medical Group, LLC
           1406 SE 164th, Suite 250
16         Vancouver, WA 98683
17          I further certify that on October 20, 2022, I served the above referenced documents on all

18   ECF participants as indicated on the Court's Cm/ECF system.

19          I swear under penalty of perjury that the foregoing is true and correct to the best of my

20   knowledge, information, and belief.

21          Dated: October 20, 2022.

22

23                                           /s/ Janine E. Hume
                                             ___________________________________________
24                                           Janine E. Hume
25

26

CERTIFICATE OF SERVICE - Page 1


                                           SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                 1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                       TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
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